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                         Exhibit 4
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Transcript of Domenic Johnson
                         Date: November 9, 2022
  Case: Scott -v- Washington Metropolitan Area Transit Authority




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                                                          Transcript of Domenic Johnson                                     1 (1 to 4)

                                                                November 9, 2022
                                                                   1                                                                     3

1             UNITED STATES DISTRICT CIRCUIT COURT                      1                     A P P E A R A N C E S
2                  FOR THE DISTRICT OF COLUMBIA                         2
3    ---------------------------x                                       3    ON BEHALF OF THE PLAINTIFF:
4    CAROL WILD SCOTT,              :                                   4         CHRISTOPHER J. REGAN, ESQUIRE
5                      Plaintiff,   :                                   5         REGAN, ZAMBRI & LONG, PLLC
6      -v-                          :Civil No.                          6         1919 M Street, NW
7    WASHINGTON METROPOLITAN        :22-cv-00601 (CRC)                  7         Suite 350
8    AREA TRANSIT AUTHORITY,        :                                   8         Washington, DC 20036
9                      Defendant.   :                                   9         (202) 463-3030
10 ---------------------------x                                         10        cregan@reganfirm.com
11             Remote Deposition of DOMENIC JOHNSON                     11
12                 Wednesday, November 9, 2022                          12 ON BEHALF OF THE DEFENDANT:
13                       10:07 a.m. EST                                 13        BRENDAN H. CHANDONNET, ESQUIRE
14                                                                      14        NICHOLAS L. PLUCAS, ESQUIRE
15                                                                      15        OFFICE OF GENERAL COUNSEL - WMATA
16                                                                      16        300 7th Street, SW
17                                                                      17        Washington, DC 20004
18                                                                      18        (202) 962-1234
19                                                                      19        bchandonnet@wmata.com
20 Job No. 469458                                                       20
21 Pages 1 - 38                                                         21 ALSO PRESENT:       CAROL WILD SCOTT
22 Reported by:       Tina D. McComb                                    22




                                                                   2                                                                     4

1            Deposition of DOMENIC JOHNSON, held remotely:              1                       C O N T E N T S
2                                                                       2    EXAMINATION OF DOMENIC JOHNSON               PAGE
3                                                                       3    By Mr. Regan                                   5
4                                                                       4
5                                                                       5
6                                                                       6
7                                                                       7
8                                                                       8                        E X H I B I T S
9                                                                       9                      (No exhibits marked)
10           Pursuant to Notice, before Tina D. McComb,                 10
11 Reporter and Notary Public of the State of                           11
12 Maryland.                                                            12
13                                                                      13
14                                                                      14
15                                                                      15
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                                         Transcript of Domenic Johnson                            2 (5 to 8)

                                               November 9, 2022
                                                     5                                                            7
1           P ROCEEDINGS                                 1 currently a train operator for WMATA; is that
2             DOMENIC JOHNSON                            2 right?
3 having been duly sworn, testified as follows:          3      A. Correct.
4      EXAMINATION BY COUNSEL FOR THE PLAINTIFF          4      Q. And you've held that position since, well,
5 BY MR. REGAN:                                          5 the first half of 2019 at some point?
6     Q. Good morning, Ms. Johnson. We met a             6      A. Yes.
7 little bit off the record, but again my name is --     7      Q. When did you first take that position as a
8         MR. CHANDONNET: Chris, just one second.        8 train operator? In other words, what time -- a
9 Let me turn you up a little bit for her too. I         9 month would be just fine.
10 apologize.                                            10 A. September 2018.
11        MR. REGAN: No problem.                         11 Q. And what was your understanding -- you
12 BY MR. REGAN:                                         12 worked at WMATA longer than that in total. What
13 Q. I'll tell you, Ms. Johnson, if at any              13 job title did you hold before September of 2018?
14 point you can't hear me this morning, please just     14 A. I was a bus operator.
15 let me know and I'm happy to try to speak up, speak   15 Q. And how long were you a bus operator?
16 into the microphone. Okay?                            16 When did you first start doing that?
17 A. Okay.                                              17 A. I started September 2016.
18 Q. So I was just saying, again, my name is            18 Q. Why the change in position?
19 Chris Regan and I represent Carol Scott in this       19 A. No reason in particular. The train is a
20 case.                                                 20 little less -- I don't deal with customers as often
21        Would you please state your full name for      21 on the train as I would on the bus.
22 the record?                                           22 Q. That's fair. When you first took the
                                                     6                                                            8
1      A. Domenic Johnson.                               1 position as a train operator sometime September of
2      Q. And have you ever had your deposition          2 2018, I assume you had to take extra training,
3 taken before?                                          3 right?
4      A. No.                                            4          MR. CHANDONNET: Objection. You can
5      Q. I'm sure that Mr. Chandonnet and folks in      5 answer.
6 his office have talked to you a little bit. But I      6     A. Yes.
7 would say the important thing is just that you and     7 BY MR. REGAN:
8 I understand each other.                               8     Q. Can you just walk me through at least
9          So if at any point today, not only if I       9 broadly speaking what the training process looked
10 get too quiet for you, but if I ask a question that   10 like for you.
11 doesn't make sense, please just let me know and       11         MR. CHANDONNET: Chris, I'm to have -- I'm
12 I'll be happy to try to do better, rephrase it in a   12 going to allow her to answer that. I would just
13 way to make sure both of us are on the same page.     13 like a continuing objection to any questions
14 Okay?                                                 14 related to her training.
15 A. Okay.                                              15         MR. REGAN: Okay.
16 Q. If you need a break by the way at any              16         MR. CHANDONNET: Thank you.
17 point, I don't think we'll be long, maybe 30          17 A. We have a six-month training that goes
18 minutes. But if you need a break, just let me         18 over -- a portion is classroom where we're learning
19 know. And that's not going to be a problem at all.    19 about the train. A portion is practical where
20 Okay?                                                 20 we're learning how to work on the trains. And then
21 A. Okay.                                              21 a portion is operating the train.
22 Q. So I understand, Ms. Johnson, that you're          22 BY MR. REGAN:
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                                        Transcript of Domenic Johnson                                3 (9 to 12)

                                              November 9, 2022
                                                     9                                                          11
1      Q. So the six-month start in September 2018         1 do next?
2 and then end I guess in roughly March of 2019?           2     A. You open the doors.
3      A. Correct.                                         3     Q. Do you announce that the doors are
4      Q. So the first time that you were -- would I       4 opening?
5 be correct to understand you that the first time         5     A. Yes. You make an announcement as you're
6 that you were actually out there operating a train       6  entering  the station, pretty much say in the
7 for WMATA was March of 2019 then?                        7 station that you're entering and what side the
8      A. Correct.                                         8 doors will open on.
9      Q. Other than hands-on stuff during training?       9     Q. You don't make an announcement then after
10 A. I was operating probably about December of           10 you stop but before the doors open?
11 2018. But officially on my own, I could say March       11 A. No.
12 of 2019.                                                12 Q. Is that correct?
13 Q. Okay. So what's the difference in those              13 A. Correct.
14 three months? What would you have been doing            14 Q. After you've come to a complete stop at
15 between December 2018 and March 2019?                   15 the platform, are you ever allowed to move the
16 A. Nothing really other than the fact they              16 train forward again?
17 have an LPI ride along with you.                        17 A. Yes.
18 Q. I'm sorry, what was the abbreviation you             18 Q. Under what circumstances? When are you
19 just used?                                              19 allowed to do that?
20 A. A line platform instructor.                          20 A. If your train is not properly berthed at
21 Q. How were you trained -- well, let me ask             21 the eight car marker.
22 it this way.                                            22 Q. If you're going to move the train forward
                                                     10                                                         12
1         Describe for me, please, every step that          1 again after it's stopped, do you announce that to
2  you  were  trained   to take as a train operator as you  2 the passengers?
3 pulled into a station and came to a stop at a             3      A. Yes.
4 platform.                                                 4      Q. Why is that?
5    A. We are to enter the station -- well,                5          MR. CHANDONNET: Objection. You can
6 initially we were to enter the station between 37         6 answer.
7 to 42 miles per hour. Once you reach the last ATO 7              A. Why do we make an announcement?
8 marker, your train should be brought down to 20 8 BY MR. REGAN:
9 miles per hour to properly berth the eight car            9      Q. Correct.
10 marker.                                                  10 A. Just so that people are on the platform
11 Q. I'm sorry, what was that last bit? I                  11 and on the train are aware.
12 missed  that  last bit.                                  12 Q. Okay. I don't want to put words into your
13 A. Properly berth the eight car marker,                  13 mouth. But is one reason that people need to know
14 B-E-R-T-H.                                               14 the train is going to move forward again so that
15 Q. Does that mean -- essentially is that the             15 they can be prepared and not fall?
16 marker where you're supposed to stop for an eight        16         MR. CHANDONNET: Objection. You can
17 car long train?                                          17 answer.
18 A. Essentially yes. We stop two cars, four               18 A. Correct.
19 cars, six cars. All cars stop at the eight car           19 BY MR. REGAN:
20 marker.                                                  20 Q. If the train is going to move forward
21 Q. Got it. Thank you. Then what happens?                 21 again after it's come to a stop at the platform, is
22 So  once  the  train  has come  to  a stop, what do  you 22 it also important to move the train forward only
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                                      Transcript of Domenic Johnson                            6 (21 to 24)

                                            November 9, 2022
                                                  21                                                     23
1 bother marking it as an exhibit unless it looks        1 BY MR. REGAN:
2 like we need to or if you'd like me to. All right?     2     Q. Obviously we're here to primarily talk
3          MR. CHANDONNET: No need. If we want to        3 about an incident that happened on September 23rd,
4 add it as an exhibit, that's fine. Otherwise it's      4 2019.
5 been identified by Bates number for her to use.        5         I understand that at roughly 6:30 p.m.
6 BY MR. REGAN:                                          6 that day, you were driving an orange line train at
7     Q. Ms. Johnson, what I'm doing is I'm looking      7 McPherson Square; is that right?
8 at this description portion up here. Feel free to      8     A. Yes.
9 look either with me on the screen or at the copy,      9     Q. Do you remember that incident as we sit
10 the hard copy that your counsel just provided to      10 here today?
11 you.                                                  11 A. From my memory, no. I do have the
12         But I wonder if you can explain to me what    12 statement though.
13 this statement means now that you're looking at it    13 Q. Okay. Which statement are you referring
14 or now that you sort of remember a little bit about   14 to?
15 that day.                                             15 A. The statement from the incident that I
16 A. It means as stated in my report, that I            16 completed, my incident report.
17 went into a braking mode. And it did not respond      17 Q. Okay. Got it.
18 right away, so I went back to a coast, and then       18        MR. CHANDONNET: I can stipulate that the
19 went back to a B5 to slow the train down. And it      19 document she's referring to has been previously
20 stopped with half of a first door leaf off the        20 provided to you and marked as Bates stamp WMATA
21 platform.                                             21 Number 2.
22 Q. You started to mention that the train can          22        MR. REGAN: Got it.
                                                  22                                                     24
1 be heavier at rush hour. Is that your belief that 1 BY MR. REGAN:
2 that was why you had a problem stopping it that   2      Q. And Ms. Johnson, have you -- well, I guess
3 day?                                              3 let me ask you this.
4     A. Yes.                                       4          From what you just said, am I
5     Q. By the way, I do see the braking modes in  5 understanding you right that you have absolutely no
6 B2, B3, B5. What is a B2 mode?                    6 memory of that day other than what's contained in
7     A. It's just a lower braking mode.            7 your incident report statement?
8     Q. How many braking modes are there?          8      A. Correct.
9     A. Five.                                      9      Q. Okay. Did you ever see the woman who was
10 Q. Are they B1 through B5?                       10 hurt that day or no?
11 A. Yes.                                          11 A. I want to say no.
12 Q. Five is the most, one is the least?           12 Q. But from the way you said it, would I be
13 A. Yes.                                          13 right to interpret that is you're not quite sure?
14 Q. And then -- bear with me one moment.          14 A. I can say I don't know. But I can say I
15         As a result of this April 28th, 2019     15 didn't see her in the moment.
16 incident, did you have to undergo any additional 16 Q. Or at the very least, if you did see her,
17 training?                                        17 you have no recollection whatsoever of that as we
18         MR. CHANDONNET: Objection. Don't answer. 18 sit here today?
19 BY MR. REGAN:                                    19 A. Correct.
20    Q.    As a result of this April 29th, 2018    20 Q. I guess a slightly different question.
21 incident, were you disciplined in any way?       21 Did you ever talk to her? Or do you have any
22         MR. CHANDONNET: Objection. Don't answer. 22 memory of having talked to the woman who was hurt
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